Case 4:23-cv-03560   Document 271-5   Filed on 06/20/25 in TXSD   Page 1 of 4




                     Exhibit D
                     (Excerpt)
  Case 4:23-cv-03560            Document 271-5      Filed on 06/20/25 in TXSD Page 2 of 4
                                                                   HIGHLY CONFIDENTIAL



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


FEDERAL TRADE COMMISSION,

                   Plaintiff,

              v.                                             Case No.: 4:23-CV-03560-KH

U.S. ANESTHESIA PARTNERS, INC., et al.

                   Defendants.


            USAP’S AMENDED OBJECTIONS AND RESPONSES TO THE FTC’S
                     FIRST SET OF REQUESTS FOR ADMISSION

       Pursuant to Rule 36 of the Federal Rules of Civil Procedure, Defendant U.S. Anesthesia

Partners, Inc. (“USAP”), by and through undersigned counsel, objects and responds to Plaintiff

the Federal Trade Commission’s (“FTC”) First Set of Requests for Admission (the “Requests”),

dated March 7, 2025. These objections and responses reflect USAP’s present knowledge,

information, and belief and are subject to change or modification based on further discovery or

on facts or circumstances that may come to USAP’s knowledge.

                                    GENERAL OBJECTIONS

       The following General Objections apply to each and every Request and will form an

integral part of USAP’s response to the FTC’s Requests.

       1.      USAP objects to each and every Definition, Instruction, and Request to the extent

it attempts to alter the scope of discovery or impose obligations that exceed those required by the

Federal Rules of Civil Procedure, the Local Civil Rules of the U.S. District Court for the

Southern District of Texas, any agreement or stipulation between the parties on ESI, any

Protective Order, or any other rule or order in this case.
  Case 4:23-cv-03560       Document 271-5        Filed on 06/20/25 in TXSD Page 3 of 4
                                                                HIGHLY CONFIDENTIAL



personnel formerly affiliated with North Houston Anesthesiology (Kingwood) provided

Anesthesia Services in Houston.

REQUEST NO. 37:

Admit that before it was Acquired by USAP, Anesthesia Consultants of Dallas provided
Anesthesia Services in Dallas.

RESPONSE:

       USAP incorporates by reference its General Objections and its Objections to Definitions

and Instructions.

       Subject to and without waiving these objections, USAP denies this Request, as it did not

acquire Anesthesia Consultants of Dallas, but admits that USAP Texas acquired Anesthesia

Consultants of Dallas, and USAP admits that Anesthesia Consultants of Dallas provided

Anesthesia Services in Dallas before it was acquired by USAP Texas.

REQUEST NO. 38:

Admit that before it was Acquired by USAP, Excel Anesthesia, P.A. provided Anesthesia
Services in Dallas.

RESPONSE:

       USAP incorporates by reference its General Objections and its Objections to Definitions

and Instructions.

       Subject to and without waiving these objections, USAP denies this Request, as it did not

acquire Excel Anesthesia, P.A., but admits that USAP Texas acquired Excel Anesthesia, P.A.,

and USAP admits that Excel Anesthesia, P.A., provided Anesthesia Services in Dallas before it

was acquired by USAP Texas.

REQUEST NO. 39:

Admit that before it was Acquired by USAP, BMW Physicians provided Anesthesia Services in
Dallas.



                                              22
  Case 4:23-cv-03560        Document 271-5        Filed on 06/20/25 in TXSD Page 4 of 4
                                                                 HIGHLY CONFIDENTIAL



RESPONSE:

       USAP incorporates by reference its General Objections and its Objections to Definitions

and Instructions.

       Subject to and without waiving these objections, USAP denies that it acquired BMW

Physicians, interpreting the term “acquire” to mean that a former practice was subject to a

merger, an asset purchase, or an acquisition of stock or other equity. USAP admits that USAP

Texas hired, as new employees, personnel formerly affiliated with BMW Physicians, and that,

prior to being hired as new employees, personnel formerly affiliated with BMW Physicians

provided Anesthesia Services in Dallas.

REQUEST NO. 40

Admit that before it was Acquired by USAP, Medical City Physicians provided Anesthesia
Services in Dallas.

RESPONSE:

       USAP incorporates by reference its General Objections and its Objections to Definitions

and Instructions.

       Subject to and without waiving these objections, USAP denies that it acquired Medical

City Physicians, interpreting the term “acquire” to mean that a former practice was subject to a

merger, an asset purchase, or an acquisition of stock or other equity. USAP admits that USAP

Texas hired, as new employees, personnel formerly affiliated with Medical City Physicians, and

that, prior to being hired as new employees, personnel formerly affiliated with Medical City

Physicians provided Anesthesia Services in Dallas.

REQUEST NO. 41

Admit that before it was Acquired by USAP, East Texas Anesthesiology Associates provided
Anesthesia Services in Tyler.




                                                23
